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                                   UNITED STATES DISTRICT COURT
                                     DISTRICT OF RHODE ISLAND

   ---------------------------------------------------------------X
   JOHN DOE,                                                      :   Civ. No. 15-cv-00144-S-LDA
                                                                  :
                                       Plaintiff,                 :
                                                                  :
                     -against-                                    :
                                                                  :
   BROWN UNIVERSITY                                               :
     in Providence in the State of Rhode Island                   :
     and Providence Plantations,                                  :
                                                                  :
                                       Defendant.                 :
   ---------------------------------------------------------------X

      PLAINTIFF’S RESPONSE/REPLY IN FURTHER SUPPORT OF MEMORANDUM
                CONCERNING THE USE OF PSEUDONYMS AT TRIAL

           Plaintiff John Doe submits this Memorandum in response to Brown University’s

   memorandum (ECF 129) and in further support of his memorandum concerning the use of

   pseudonyms at trial (ECF 124-1). The grounds cited by Brown in support of its argument for

   removal of pseudonyms at trial are without merit and are not applicable to the instant case. Even

   if Plaintiff receives a favorable verdict in the trial of this matter, and even if he were ultimately

   able to obtain a “clean” transcript from Brown, requiring him to disclose his name will

   nonetheless result in significant damage to his academic and career prospects as his name will

   forever be associated with a charge of sexual misconduct. For the reasons argued in his initial

   motion (ECF 3-1) and opening memorandum (ECF 124-1), and as explained further below,

   Plaintiff (as well as his family members and other student witnesses) should be permitted to

   remain anonymous through the trial of this action.




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       I.      The circumstances of this case override the presumption against anonymity.

            The presumption in favor of openness in judicial proceedings is “not an absolute,

   unreviewable license to deny” a party’s request to proceed anonymously. James v. Jacobson, 6

   F.3d 233, 238 (4th Cir. 1993). Instead, a trial court must exercise its discretion in determining

   whether anonymity is warranted under the circumstances of the particular case. In recent years,

   courts across the country have recognized that cases challenging university disciplinary

   proceedings present the type of “extraordinary circumstances” that permit this “rare

   dispensation” to be afforded. See Defendant’s Memorandum at pp. 15-16. See also Doe v.

   Marymount Univ., 297 F. Supp. 3d 573 (E.D. Va. 2018); Doe v. Amherst Coll., 238 F. Supp. 3d

   195 (D. Mass. 2017); Doe v. Cummins, 662 F. App'x 437 (6th Cir. 2016); Doe v. Univ. of S.

   California, 246 Cal. App. 4th 221, 200 Cal. Rptr. 3d 851 (2016), reh'g denied (May 2, 2016),

   review denied (Aug. 10, 2016); Doe v. Ohio State Univ., 239 F. Supp. 3d 1048 (S.D. Ohio 2017);

   Doe v. Brown Univ., 166 F. Supp. 3d 177 (D.R.I. 2016); Doe v. W. New England Univ., 228 F.

   Supp. 3d 154 (D. Mass. 2017); Doe v. Miami Univ., 882 F.3d 579 (6th Cir. 2018); Doe v.

   Trustees of Boston Coll., 892 F.3d 67 (1st Cir. 2018); Doe v. Univ. of Cincinnati, 173 F. Supp.

   3d 586 (S.D. Ohio 2016); Doe v. Univ. of Chicago, No. 16 C 08298, 2017 WL 4163960, at *1

   (N.D. Ill. Sept. 20, 2017). Evidently, requiring a plaintiff to disclose his identity is the exception

   rather than the rule in cases of this nature.

            The cases cited by Brown acknowledge the court’s obligation to review the particular

   circumstances of each case in weighing the party’s stated interest in anonymity against the

   public’s interest in openness. See Doe v. Public Citizens, 749 F.3d 246, 274 (4th Cir. 2014) (“We

   therefore hold that, when a party seeks to litigate under a pseudonym, a district court has an

   obligation to ensure that extraordinary circumstances support such a request by balancing the



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   party’s stated interest in anonymity against the public’s interest in openness and any prejudice

   that anonymity would pose to the opposing party”); Sealed Plaintiff v. Sealed Defendant, 537

   F.3d 185 (2d Cir. 2008) (holding District Court failed to apply correct legal standard in

   determining whether to permit request for pseudonym); James v. Jacobson, 6 F.3d 233, 238 (4th

   Cir. 1993) (finding trial court abused discretion in denying anonymity request: “though the

   general presumption of openness in judicial proceedings applies to party anonymity as a limited

   form of closure, it operates only as a presumption and not as an absolute, unreviewable license to

   deny. The rule rather is that under appropriate circumstances anonymity may as a matter of

   discretion, be permitted”); Does I Thru XXIII v. Advanced Textile Corp., 214 F.3d 1058, 1067

   (9th Cir. 2000) (“many federal courts…have permitted parties to proceed anonymously when

   special circumstances justify secrecy”); Plaintiff B. v. Francis, 631 F.3d 1310, 1315-16 (11th Cir.

   2011) (the court “should carefully review all the circumstances of a given case and then decide

   whether the customary practice of disclosing the plaintiff’s identity should yield to the plaintiff’s

   privacy concerns”; “the rule is not an absolute”).

           The cases cited by Brown in which the party requesting anonymity was not permitted to

   proceed pseudonymously are distinguishable. For instance, in denying the plaintiff’s request, the

   District Court in Rose v. Beaumont Independent School District addressed the plaintiff’s

   involvement in promoting media coverage concerning her claims of sexual assault. In addition to

   participating in an interview with the local newspaper, numerous members of the community

   were already aware of her true identity. Rose v. Beaumont Indep. Sch. Dist., 240 F.R.D. 264, 268

   (E.D. Tex. 2007). In contrast, Plaintiff in this matter has since the initiation of this lawsuit kept

   his identity confidential.




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            The decisions denying the use of pseudonyms in Doe v. Indiana Black Expo, Inc. (923 F.

   Supp. 137, 141-42 (S.D. Ind. 1996)), Southern Methodist Univ. Assn. of Women Law Students v.

   Wynne & Jaffe, (599 F.2d 707, 713 (5th Cir. 1979)) and Doe v. Shakur (164 F.R.D. 359, 361

   (S.D.N.Y. 1996)) are not persuasive as none of them involved a student’s challenge to university

   disciplinary proceedings relating to allegations of sexual misconduct. Further, each of these

   matters occurred well before today’s ubiquitous nature of the Internet made it possible for

   anyone to obtain information about a plaintiff via a simple online search. Disclosure of the

   names of students accused of sexual misconduct in recent years has yielded demonstrable

   damages to their reputations, regardless of the ultimate findings. Should Plaintiff here be

   required to disclose his name at trial, his fear of similar public attention and ridicule is therefore

   not unreasonable and weighs in favor of maintaining his anonymity.

      II.      Public disclosure of Plaintiff’s name will subject him to the very harm he seeks
               to rectify through commencement of this lawsuit.

            Plaintiff disputes that the academic and economic harm caused by a negative transcript

   notation will be eradicated if Plaintiff is ultimately successful in this lawsuit. As noted by Dr.

   Suzanne Miller in her expert report dated August 2017 and supplemental report dated August

   2018 (ECF 133-3), even a court-ordered removal of the institutional action “will still not increase

   [John Doe’s] chances of acceptance to medical school to pre-suspension probabilities because he

   must include the charges and suspension on his application regardless of the court findings- it

   will always tarnish his reputation…” (Miller Report, p. 23). Any claim that a mere removal of

   the disciplinary notation from his transcript will restore Plaintiff to his pre-suspension status is

   patently untrue.

            This same sentiment was recognized by the District Court of New Hampshire in Doe v.

   Trustees of Dartmouth College. The Court was on point in concluding: “Thus, this is not a case

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   where, far from damaging plaintiff’s reputation, the litigation will afford plaintiff an opportunity

   to clear his name in the community. Plaintiff has a reasonable fear that, whatever the outcome of

   the action, public identification will subject him to severe reputational harm and harassment, and

   will defeat the very purpose of this litigation.” Doe v. Trustees of Dartmouth Coll., No. 18-CV-

   040-LM, 2018 WL 2048385, at *6 (D.N.H. May 2, 2018) (internal quotations and citations

   omitted). This factor similarly weighs in favor of permitting Plaintiff to remain anonymous

   through the trial of this action.

       III.      Publicly naming Plaintiff would add an additional, potentially insurmountable,
                 hurdle to Plaintiff’s goal of attending medical school.

              Requiring Plaintiff to disclose his identity at the trial of this matter would add an

   additional, potentially insurmountable, hurdle to Plaintiff’s chances of gaining admission to

   medical school. Specifically, in deciding whether to offer Plaintiff admission, medical school

   admissions committees would inevitably consider the potential ramifications of admitting a

   student whose name is publicly associated with an accusation of sexual misconduct, regardless of

   the ultimate outcome. Brown’s decision finding Plaintiff responsible for sexual misconduct has

   already caused irreparable damage to Plaintiff’s chances of attending medical school, and even

   greater damage to his chances of attending a “top-10” school, to which he likely would have

   gained acceptance absent the mark. (See Miller Report, August 2018).

              In contrast, if Plaintiff’s record from Brown were cleared today, though he would still be

   required to report the allegations, this disclosure would be made in a confidential medical school

   application. It is not unreasonable to presume that a medical school would be less willing to

   consider an applicant who has been publicly identified as having been accused of sexual

   misconduct. Doing so would carry a risk of negative publicity and/or campus outcry, even if

   school officials are privately convinced that Plaintiff is not a safety risk. Thus, even if Plaintiff

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   ultimately prevails, an open trial would add an additional hurdle—namely, medical schools

   considering Plaintiff’s application would be forced to deal with the negative consequences of

   admitting an accused student whose name is publicly associated with the alleged offense. If he is

   successful in this action, Plaintiff is entitled to be placed in as good a position as he would have

   been had the sanction never been imposed. See Ins. Brokers W., Inc. v. Liquid Outcome, LLC,

   241 F. Supp. 3d 339, 345 (D.R.I.), aff'd, 874 F.3d 294 (1st Cir. 2017). Requiring him to disclose

   his name will prevent him from receiving the full remedy to which he would be entitled, given

   the way medical schools view such institutional action.

      IV.      Permitting the parties to proceed pseudonymously will not impact the jury’s
               assessment of the harm caused to Plaintiff.

            While Plaintiff disputes that a jury would construe the Court’s permission to use

   pseudonyms at trial as an indication of its position regarding the damages suffered, any such

   concerns are easily allayed. First, a jury instruction could clearly outline the grounds for

   permitting Plaintiff to proceed under a pseudonym, which is uninfluenced by the Court’s own

   opinions concerning the merits of the case. Second, Brown will be permitted at trial to

   thoroughly cross examine Plaintiff before the jury about any personal matter put into issue by his

   claims and the evidence, including those going towards both liability and damages. Regardless of

   whether Plaintiff’s name is disclosed, a jury will be able to personally observe Plaintiff, his

   demeanor, his testimony and then make its own credibility assessments and conclusions related

   to Plaintiff’s claims. Revelation of his identity will not impact a jury’s analysis of the evidence in

   any way.




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       V.       Plaintiff’s Title IX erroneous outcome claim will necessarily involve a discussion
                concerning the underlying sexual encounter, a highly sensitive subject.

             Brown argues that a pseudonym is not warranted as the trial will not focus on the details

   of the sexual encounter that was the basis for the disciplinary action. However, the presentation

   of Plaintiff’s case will necessitate a discussion of the underlying sexual encounter that

   precipitated the charges against Plaintiff. Specifically, in order to establish his Title IX erroneous

   outcome claim, Plaintiff will need to demonstrate that Brown’s finding of responsibility was

   incorrect. Establishing Jane Doe consented will require a detailed discussion of every aspect of

   the sexual encounter, which has been considered “among the most intimate parts of one’s life…”

   Doe v. Trustees of Dartmouth Coll., at *5-6 (citing to Doe v. Blue Cross & Blue Shield of R.I.,

   794 F. Supp. 72, 74 (D.R.I. 1992) (internal citations omitted)). Here, both Plaintiff’s and Jane

   Doe’s interest in avoiding undue embarrassment, harassment, and disclosure of sensitive private

   information outweigh the public’s need to know their names. See Does I–XXIII v. Advanced

   Textile Corp., 214 F.3d 1058, 1068–69 (9th Cir.2000).

       VI.      There is no particular public interest in learning Plaintiff’s identity.

             Finally, Plaintiff should not be required to disclose his identity as there is nothing about

   his status that would invite particular interest from the public, nor is there any concern that he

   would receive preferential treatment from the Court. Regardless of whether Plaintiff’s identity is

   disclosed, the public will still be able to learn the nature of his allegations, the defenses presented

   by Brown and the outcome of the trial. In this instance, permitting Plaintiff, and the other student

   witnesses,1 to remain anonymous will not deprive the public of their right to openness in judicial




   1
     In submitting there would be no difficulty in permitting all student witnesses to remain
   anonymous except for Plaintiff, Brown fails to recall how pseudonyms were maintained in the
   2016 trial of John Doe v. Brown University wherein “the parties agreed to use the students’ true
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   proceedings. Indeed, “[p]arty anonymity does not obstruct the public’s view of the issues joined

   or the court’s performance in resolving them. The assurance of fairness preserved by public

   presence at a trial is not lost when one party’s cause is pursued under a fictitious name.” Doe v.

   Stegall, 653 F.2d 180, 185 (5th Cir. 1981). Given the interests served by open trials, “are not

   inevitably compromised by allowing a party to proceed anonymously” (Id.), Plaintiff should be

   permitted to proceed pseudonymously as the potential harms that could accrue as a consequence

   of the revelation of his identity outweigh the public’s right to an open proceeding.

      VII.    Conclusion

          Based on the foregoing, and in consideration of the balancing of relevant factors, Plaintiff

   respectfully requests that he be permitted to remain anonymous, under the pseudonym John Doe,

   through the trial of this matter, and that other family members and student witnesses also retain

   their anonymity.


                                         Respectfully submitted,


                                         Plaintiff John Doe,
                                         By his attorneys,

                                         NESENOFF & MILTENBERG, LLP
                                         Attorneys for Plaintiff John Doe

                                         By: /s/ Andrew T. Miltenberg
                                         Andrew T. Miltenberg, Esq.(admitted pro hac vice)
                                         Tara Davis, Esq. (admitted pro hac vice)
                                         363 Seventh Avenue, Fifth Floor
                                         New York, New York 10001
                                         (212) 736-4500
                                         amiltenberg@nmllplaw.com
   August 17, 2018                       tdavis@nmllplaw.com


   first names at trial for the convenience of the witnesses”; Doe v. Brown Univ., 210 F. Supp. 3d
   310, 312 (D.R.I. 2016).


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                                       -and-

                                local counsel for Plaintiff John Doe,

                                By: /s/ Samuel D. Zurier
                                Samuel D. Zurier, Esq. (Bar No. 3576)
                                55 Dorrance Street, Suite 400
                                Providence, RI 02903
                                (401) 861-0200
   August 17, 2018              sdz@zurierlaw.com




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                                      CERTIFICATE OF SERVICE

         I hereby certify on this 17th day of August, 2018, I served a copy of this Memorandum on
   Defendants’ counsel via the Court’s CM/ECF system.

                                /s/     Andrew T. Miltenberg, Esq.




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